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1    DANIEL BRODERICK, Bar #89424
     Federal Defender
2
     CARO MARKS, Bar #159267
3    Assistant Federal Defender
     Designated Counsel for Service
4    801 I Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 498-5700
6
7    Attorney for Defendant
     MICHAEL LABRECQUE
8
9                        IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )      No. Cr-S-03-384 WBS
                                     )
13                  Plaintiff,       )
                                     )      STIPULATION AND ORDER TO CONTINUE
14        v.                         )      JUDGMENT AND SENTENCING
                                     )
15   MICHAEL LABRECQUE, et al.       )      Date:  March 2, 2009
                                     )      Time:  8:30 a.m.
16                  Defendants.      )      Judge: Hon. William B. Shubb
                                     )
17   _______________________________ )
18
           MICHAEL LABRECQUE, by and through his counsel, Caro Marks, Allan
19
     Harrod, by and through his counsel, Bruce Locke, and the United States
20
     of America, by and through its counsel, Laurel White, hereby stipulate
21
     and agree to continue the Judgment and Sentencing date presently
22
     scheduled for February 2, 2009, to March 2, 2009.        Defense Counsel Marks
23
     is tentatively set to return to the office on January 20, 2009.         Ms.
24
     Marks will need the additional time in order to prepare her reply which
25
     is due February 16, 2009 and to prepare for sentencing.
26
     ///
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     ///
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     ///
               Case 2:03-cr-00384-WBS Document 292 Filed 01/09/09 Page 2 of 3


1            Defendant’s Labrecque and Harrod have been advised of this
2    continuance and their signature below acknowledges their agreement.
3            All defense counsel and counsel for the government concur in the
4    need for this continuance.
5              Dated:       January 09, 2009
6                                                              Respectfully submitted,
7                                                              DANIEL BRODERICK
                                                               Federal Defender
8
9                                                              /s/ Caro Marks
                                                               ________________________________
10                                                             CARO MARKS
                                                               Assistant Federal Defender
11                                                             Attorney for Defendant
                                                               MICHAEL LABRECQUE
12
                                                               /s/ Michael Labrecque
13                                                             ________________________________
                                                               MICHAEL LABRECQUE
14                                                             Defendant
15
                                                                /s/ Bruce Locke
16                                                             ________________________________
                                                               BRUCE LOCKE
17                                                             Attorney at Law
                                                               Attorney for Defendant
18                                                             ALLAN HARROD
19                                                             /s/ Allan Harrod
                                                               ________________________________
20                                                             Defendant
21
                                                               /S/ Laurel White
22                                                             ________________________________
                                                               LAUREL WHITE
23                                                             Assistant United States Attorney
24
25
26
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     Motion to continue Jury Trial/Labrecque/Cr-S-03-384 WBS   2
               Case 2:03-cr-00384-WBS Document 292 Filed 01/09/09 Page 3 of 3


1                                                              ORDER
2    IT IS SO ORDERED.
3    Dated:       January 9, 2009
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     Motion to continue Jury Trial/Labrecque/Cr-S-03-384 WBS     3
